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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DAMON ATKINS,
                          Plaintiff,                 C.A. No. 5:23-CV-02732-JMG

                         v.

 CITY OF READING, et al.,
                 Defendants.

            PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       NOW COMES, Plaintiff Damon Atkins, who respectfully moves for partial summary

judgment under Fed. R. Civ. P. 56: On the grounds in the within Brief, which are incorporated by

reference, summary judgment should be entered in favor of Plaintiff and against Defendants

Bradley T. McClure and Courtney Dupree as to liability, reserving trial on damages and punitive

damages.

       WHEREFORE, based on the forgoing, the Court should grant Plaintiff’s Motion for

Partial Summary Judgment, as follows:

(A)    Entry of summary judgment on liability in favor of Plaintiff and against Defendant Bradley

T. McClure, reserving trial on damages and punitive damages, as to Count One (First Amendment

Retaliation), Count Two (Fourth Amendment Violation), Count Three (Malicious Prosecution),

Count Seven (False Imprisonment), Count Eight (Malicious Prosecution), and Count Nine

(Assault and Battery).

(B)    Dismiss Defendant Courtney Dupree (deceased) from the case.

(C)    Such other relief as the Court deems necessary, just, or appropriate.

                                             Respectfully submitted,

                                             CORNERSTONE LAW FIRM, LLC



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Dated: May 17, 2024          By:   /s/ Joel A. Ready
                                   Joel A. Ready, Esquire
                                   PA Attorney I.D. # 321966
                                   8500 Allentown Pike, Suite 3
                                   Blandon, PA 19510
                                   (610) 926-7875




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